54 F.3d 773NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Arthur D. NEWBY, Plaintiff-Appellant,v.John ZIMMERMAN, Sergeant, Defendant-Appellee.
    No. 94-7314.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 22, 1995.
    
      Arthur D. Newby, appellant pro se.  Archer Lafayette Yeatts, III, Maloney, Yeatts &amp; Barr, PC, Richmond, VA, for appellee.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Newby v. Zimmerman, No. CA-93-1532 (E.D. Va.  Oct. 6, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    